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United States District Court c //k;;f»<l(j'n@/,N '6%9
WESTERN DISTRICT oF TENNESSEE /?'¢L;j,{)/g§?z/@
Eastern Division A'?“/II€»`> §

LACRETIA JOHNSON, SHANNA JOHNSON,

PAMELA JoHNsoN, FISHER SMITH JUDGMENT lN A C|VlL CASE

V.

UNI VERSITY OF TENNESSEE

FAMILY PRACTICE CENTER CASE NUl\/|BER: 03-1156-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance With the orders of

dismissal entered in the above-Styled matter on 06/06/05 and 06/21/05, this case is
hereby D|S|V||SSED W|TH.

APPROVED:

Q@.W).Q»DM

JA S D. TODD
ED STATES DISTRICT JUDGE

 

THOMAS M. GOULD

    

\_»;/L/

 

 

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DATE DEPL`)‘TY CLERK

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on OCV 027 05

 

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This notice confirms a copy ot` the document docketed as number 31 in
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Honorable J ames Todd
US DISTRICT COURT

